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                Government’s Exhibit B
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                                          January 24, 2022

VIA E-MAIL ONLY

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         In re:   United States v. Fortenberry, C.D. Cal. case no. 2:21-cr-491-SB
                  Supplemental Expert Notice as to Alan Castel, Ph.D.

Dear Assistant United States Attorneys Jenkins, Har, and Buxton:

       We write to supplement our December 14, 2021, notice of our intent to elicit at trial, under
Federal Rule of Evidence 702, opinion testimony from Professor Alan Castel, Ph.D.

        In addition to the opinions previously noticed, we anticipate eliciting Prof. Castel’s analysis
of the FBI and USAO interviews of Congressman Fortenberry on March 23 and July 17, 2019,
and the FBI interview of Jessica Furst Johnson on or about August 9, 2019, all based on Prof.
Castel’s review of relevant audio recordings and transcripts, and other discovery evidence, as well
as his specialized knowledge in the field of human memory:

       1. March 23 and July 17, 2019, interviews with Fortenberry

     The following factors, among others, may have influenced Fortenberry’s ability to retrieve
memory in the March and July 2019 government interviews.

        Prior retrievals: In the time between the June 4, 2018, call from Ayoub (the “Ayoub Call”)
and the interviews by the government, Fortenberry retrieved his memory of the Ayoub Call several
times, which is potentially important because retrieving certain memories can alter their contents
through modifications and reconstruction. The outcome of prior retrievals can be a different
memory of the event, and that may have happened to Fortenberry.
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        Gist: Human memory does not always retain information in its exact form. Rather, we tend
to remember general themes, or gist. This may often be the case when it comes to memories of
conversations. We may not remember the exact words used but may be able to remember more
generally a theme or message from the conversation. In this case, Fortenberry might have
remembered a phone call that seemed concerning as a gist without remembering all the precise
information conveyed. To the extent Fortenberry then went on to have conversations about the
Ayoub Call with others, that process could have caused his memory to become even more gist-
based. In addition, it is possible that information Fortenberry received after the Ayoub Call
influenced the significance he attached to different aspects of his memory of the Ayoub Call,
creating an issue of varying motivation to remember across time.

        Repetitive, suggestive questioning, and stress: The manner in which memory is probed
can influence what information is retrieved. Repetitive and suggestive questioning can potentially
bias and contaminate memory—both during one interview and when presented again at a later
interview. In this case, Fortenberry was repeatedly asked whether his campaign received illegal
contributions. That could influence the manner in which Fortenberry attempted to retrieve
information from his memory of the Ayoub Call, and the accuracy of the memory. Despite
Fortenberry stating that he could not remember certain details, the repetition of questions
pertaining to the event could then change his memory of it, especially if the manner of the
questioning caused stress. Ideally, memory would be probed with open-ended questions and
without introducing or suggesting particular information or themes. Suggestibility can alter
memory, especially when someone is repeatedly questioned, has had his request for a break denied,
and/or is frequently interrupted when trying to retrieve specific aspects of one’s memory.

       2. August 2019 Jessica Furst Johnson interview

        Schema: Schemas influence how we encode and interpret incoming information and can
be used to fill in gaps in memory, consistent with past similar events. As a possible example in
this case, Jessica Furst Johnson noted in her recorded FBI interview that Fortenberry was nervous
or worried in many of her interactions with him before their June 2018 call. As a result, during that
FBI interview, she often characterized her June 2018 call with Fortenberry as being of a similar
nature to prior calls. She noted on multiple occasions that she remembered either nothing unusual
from her June 2018 call with Fortenberry or nothing inconsistent with this schema or pattern.

        Jessica Furst Johnson also may have experienced interference from her memory of the
calls she had had with Fortenberry before the June 2018 call when agents questioned her about the
June 2018 call in particular. This interference could lead her to characterize the call in question as
being similar to prior calls, as she noted that nothing seemed out of the ordinary for Fortenberry
in the June 2018 call.

       Even after she said repeatedly that she did not remember the call, the agents used repeated
questions and presented her a hypothetical, which could bias her and lead her to reconstruct a
supposed memory of the event. She noted in her FBI interview the possibility that the questioning
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could lead her to create a memory; that would be consistent with the reconstructive nature of
memory.

        Johnson noted in her interview with the agents that she was not at her office and was
traveling for an alumni event when she took the June 2018 call from Fortenberry, which could
have interfered with her encoding of the information Fortenberry conveyed to her in that call.

       Time-inconsistent motivation to remember could also be at play in Jessica Furst
Johnson’s interview. She may not have appreciated the importance of what Fortenberry told her
during their June 2018 call. This could have led her to fail to store contemporaneously a memory
of important details of that call. In August 2019, when agents repeatedly questioned her about it,
she may have been strongly motivated to remember it. But her ostensible memory was by then
influenced by awareness that the information in question had taken on increased importance.

                                        *         *     *

       Congressman Fortenberry reserves the rights to supplement this notice and to elicit expert
testimony regarding other matters that may arise during trial. The defense may further elicit from
Prof. Castel additional opinions in rebuttal to testimony to be offered by the government.

                                     Sincerely,

                                     BIENERT KATZMAN LITTRELL WILLIAMS LLP



                                     John L. Littrell
                                     Ryan V. Fraser
